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JOEL FRANcls, lll; &%UG§: YW
JANE FRANCE; AND . l. t n
JoEL FRANcIs, JR.,
Plaintiffs,
VS~ No. 05-2429-|\/|3 v

LAKEWOOD ENG|NEER|NG &
MANUFACTUR|NG CON|F’ANY,
WALMART STORES, |NC. and

SA|V|'S WEST, |NC., SAM'S EAST, |NC.
d/b/a SA|VI'S CLUB,

Defendants.

 

ORDER EXTEND|NG TlME WlTH|N WH|CH DEFENDANTS MUST
RESPOND TO PLA|NT|FFS' COMPLA|NT

 

tt appearing to this Court that Defendants should be afforded an additional twenty
(20) days, up to and including August 1, 2005, within which to plead or otherwise
respond to P|aintiffs' Comp|aint;

lt is, therefore, ORDERED, that the time within which Defendants must plead or
otherwise respond to Plaintiffs‘ Comp|aint be, and the same hereby is, extended for

twenty (20) days, up to and including August 1, 2005,

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n is so oRDERED this § day of%_ 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02429 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

